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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




                                                                        24 Misc. 142 (PAE)
IN REEXPARTEAPPLICATIONOFSBKART LLC
                                                                              ORDER




PAUL A. ENGELMAYER, District Judge:

        On March 25, 2024, petitioner SBK ART LLC ("SBK") filed a petition under 28 U.S.C.

§ 1782 for the issuance of document and deposition subpoenas to Kroll LLC ("Kroll") related to

ongoing litigation in Malta and anticipated litigation in the Netherlands. Dkts. 1, 8. On March

28, 2024, the petition was assigned to this Court.

        The Court orders SBK to serve Kroll with its petition, all supporting papers, and a copy

of this order by April 1, 2024. Kroll's response to SBK's petition, if any, is due April 15, 2024.

Petitioners' reply, if any, is due April 22, 2024.

        SO ORDERED.



                                                             PAUL A. ENGELMAYER
                                                             United States District Judge
Dated: March 28, 2024
       New York, New York
